     Case 3:23-cv-00162-GPC-AGS Document 9 Filed 02/23/23 PageID.150 Page 1 of 2




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                             UNITED STATES DISTRICT COURT
 9
                          SOUTHERN DISTRICT OF CALIFORNIA
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11   JAMES T. BROCKMAN, M.D.,                     Case No. 23-CV-0162-GPC-AGS
12
           Plaintiff,
13                                                ORDER INSTRUCTING CLERK TO
           v.                                     CLOSE CASE, DENYING MOTION
14
                                                  AS MOOT, AND VACATING
15   STANLEY FRIEDMAN, individually; and          HEARING
     DOES 1-10, inclusive,                        [ECF Nos. 4 & 8]
16

17          Defendants.
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           On February 22, 2023, Plaintiff James T. Brockman filed a Notice of Voluntary
20
     Dismissal of Action Without Prejudice pursuant to Federal Rule of Civil Procedure
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     41(a)(1)(A)(i). ECF No. 8. His Complaint, filed in State Court but removed to this Court
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     by Defendant Stanley Friedman, alleged claims of fraud, conversion, and unjust
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     enrichment arising from the purported sale of an automobile, authorized by Friedman, to
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     Brockman. ECF No. 1 at 9–13. This action was “based on” and “include[d two of] the
25
     same claim[s]” as an earlier action filed by Brockman in State Court which was removed
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     to this Court and subsequently voluntarily dismissed by Brockman. See Case No. 3:22-cv-
27
     2002-GPC-AGS, ECF Nos. 1, 4, 5.
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     Case 3:23-cv-00162-GPC-AGS Document 9 Filed 02/23/23 PageID.151 Page 2 of 2




 1         Although Rule 41(a)(1)(B) plainly states that when “the plaintiff previously
 2   dismissed any federal- or state-court action based on or including the same claim, a notice
 3   of dismissal operates as an adjudication on the merits,” binding Ninth Circuit case law
 4   makes clear “that once a notice of voluntary dismissal is filed, the district court in which
 5   the action is pending loses jurisdiction and cannot exercise discretion with respect to the
 6   terms and conditions of the dismissal.” See Com. Space Mgmt. Co., v. Boeing Co., 193
 7   F.3d 1074, 1076 (9th Cir. 1999) (“[I]t does not matter what label the plaintiff attaches to a
 8   second voluntary dismissal. Rather, Rule 41 itself prescribes the effect of Rule 41(a)(1)
 9   dismissals.”). Accordingly, the pending motion to change venue, ECF No. 4, is denied as
10   moot; the hearing previously scheduled for Friday, April 7, 2023 is hereby VACATED;
11   and the Clerk is instructed to CLOSE the case.
12         IT IS SO ORDERED.
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14   Dated: February 23, 2023
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